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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

 v.                              CASE NO. 4:22-CR-00083-01 LPR

BLESSOE WATSON                                                                    DEFENDANT


                      GENERAL CRIMINAL SCHEDULING ORDER

        This case has been continued and re-set for trial on December 13, 2022. The Court orders
the following schedule to move this case forward fairly and efficiently to a prompt resolution.

           Thirty Days Before Trial Date

            File a Joint Report answering these questions:

            1. Is this case ready for trial or a plea?

            2. If trial-ready, how many six-hour days are needed?

            3. If a party intends to seek a continuance, how long a delay will be requested and
               why?
           Twenty-One Days Before Trial Date

            1. In trial-ready cases, file any pre-trial motions, proposed voir dire questions, and
               notice of submitting proposed jury instructions to chambers. Focus on and submit
               only elements instructions, citing models and authority; the Court will use standard
               introductory and closing instructions. A response to any motion is due seven
               calendar days after the motion is filed.

            2. In cases that are not trial-ready or where a guilty plea will be offered, do one of
               two things.

                      a. Get a plea date set with chambers and submit the proposed plea
                         agreement (if any) to chambers; or

                      b. File a motion for continuance that complies with this Court’s Order
                         Regarding Continuances.
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IT IS SO ORDERED THIS 29th day of March 2022.


                                      ________________________________
                                      LEE P. RUDOFSKY
                                      UNITED STATES DISTRICT JUDGE
